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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION




United States of America

          vs                                                      CR NO. 2:19-441

 Amir Golestan and
 MICFOLLC




                                          PLEA


The defendant, Amir Golestan and MI CFO, LLC, having withdrawn his plea of Not Guilty
entered June 3, 2019, pleads GUILTY to Count(s) 1.. - 2 D          of the Indictment
after arraignment in open court.


                                               (
                             Signed by Defendant, Individually and as CEO ofMICFO, LLC



Charleston, South Carolina



November 16, 2021
